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                                                             August 17, 2020

VIA ECF

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

         Re: United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

        On behalf of our client, Ghislaine Maxwell, we respectfully submit this letter to reply to
the government’s letter, dated August 13, 2020, responding to Ms. Maxwell’s request that the
Court (i) direct the government to disclose the identities of the three alleged victims referenced
in the indictment, subject to the restrictions of the protective order in this case; and (ii) order the
Bureau of Prisons (“BOP”) to provide Ms. Maxwell with increased access to the discovery
materials (“Government’s Response” or “Gov’t Resp.”) (Dkt. 41).

        With regard to the issue of alleged victims’ identities, the government concedes, as it
must, that this Court has the authority and discretion to order the relief sought, but claims that
Ms. Maxwell’s application should be denied as untimely and without merit. (Gov’t Resp. at 2-
4). Instead, the government asserts that the appropriate and timely way for Ms. Maxwell to seek
confirmation of their identities is through a request for a bill of particulars, which should be filed
in December 2020. (Id. at 3). The government then notes that it would oppose such a motion,
which it claims should also be denied. (Id.). The government concludes that it will finally
provide confirmation of their identities in the 3500 material and a witness list to be provided
shortly before trial. (Id. at 4).

        The upshot of this is clear: in the government’s view, Ms. Maxwell should not know the
identity of the three witnesses referenced in the indictment until at best just before trial, and
should have to spend the next eleven months (or longer) trying to conduct a defense
investigation, in a case in which she is presumed innocent, without having this information.
This information is critical to conducting a meaningful defense investigation, given that the
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  indictment alleges 25-year-old conduct that supposedly occurred on unspecified dates in multiple
  locations on different continents, and involves numerous alleged victims of Jeffrey Epstein.
  Moreover, the government’s position is based on the claimed privacy rights of the alleged
  victims, now all adults, who may well have sued Mr. Epstein and/or Ms. Maxwell in public civil
  actions or otherwise identified themselves by name in public fora. As discussed below and in
  our opening letter, under the relevant legal standards, the relief sought can and should be ordered
  here.

          With regard to Ms. Maxwell’s conditions of confinement, the government asserts, in
  essence, that such matters should be left not to this Court, but to the discretion of the BOP. We
  do not agree. Under the BOP’s original plan, Ms. Maxwell would have been forced to choose
  between reviewing the voluminous discovery in this case, on the one hand, or taking a shower,
  eating a meal or exercising, on the other. That would not be consistent with her right to
  meaningfully review materials and prepare for trial. Indeed, the very filing of the present motion
  apparently prompted the BOP to make certain of the changes the defense had requested. We
  respectfully ask the Court to confirm these changes in an order, along with the other relief
  requested.

      1. Disclosure of Alleged Victim Identities

          The government concedes that this Court has the authority to order it to disclose to
  defense counsel the identities of the three individuals referenced in the indictment. (Gov’t Resp.
  at 2). As we understand it, these three individuals are the core of the government’s case against
  Ms. Maxwell. Yet, according to the government, the defense must make assumptions about their
  identities until they are finally revealed a few weeks prior to trial. If that occurs, it is very
  possible that the defense will waste the next several months investigating someone whose name
  appears in the discovery, but who is not one of the three alleged victims, and whom the
  government does not even intend to call as a witness at trial.

          Indeed, the defense has again conducted a high-level review of the second discovery
  production and, at first glance, there does not appear to be any information that specifically
  identifies these three witnesses. According to the government, the two productions they have
  made “constitute the vast majority of initial discovery.” (Id. at 2). But the defense still does not
  know for certain who these individuals are and will likely not know until the eve of trial, if the
  government has their way. That is fundamentally inconsistent with the notion of a fair trial,
  especially when it is inherently difficult to investigate instances of abuse that allegedly occurred
  25 years ago (even when the identity of the alleged victim is known), and when the alleged
  victims do not have a strong countervailing privacy interest to protect, as discussed below. 1


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   The government’s attempt at a compromise solution—providing the birth months and years of the alleged
  victims—is insufficient. (Gov’t Resp. at 2 n.2). Such partial information only helps confirm the identity of
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         The government relies on two grounds to justify its position: (i) the need “to protect the
  privacy of the alleged victims,” and (ii) the “lack of any legal precedent” granting such a
  request. (Gov’t Resp. at 4). Both of these reasons are unpersuasive.

          As to the privacy interest, the government glosses over the facts and circumstances of this
  case, which significantly diminish any privacy interest that may exist. As we stated in our initial
  letter motion, many of Mr. Epstein’s alleged victims are actively litigating civil suits against Ms.
  Maxwell and have made public statements identifying themselves by name in court proceedings,
  to the press, and in other public fora. Although we cannot say for certain whether the three
  individuals referenced in the indictment have done this—because at this point we can only guess
  who they are—it seems likely that they, too, fall into this category. Furthermore, although these
  individuals claim to have been minors when the conduct alleged in the indictment occurred
  roughly 25 years ago, they are no longer minors; they are now adults in their early 40s. Nor has
  the government argued that these alleged victims would be subject to any risk of intimidation or
  that they would likely refuse to appear for trial if their identities were disclosed. Hence, any
  privacy interest that may exist is diminished and should not supersede Ms. Maxwell’s right to
  prepare her defense to ensure a fair trial. See United States v. Warme, No. 09CR19A, 2009 WL
  427111, at *2 (W.D.N.Y. Feb. 20, 2009) (ordering government to disclose identity of alleged
  rape victim and stating, “Inasmuch as the government has not demonstrated that disclosing the
  identity to the defendant would subject the victim to a significant risk, or to increase the
  likelihood that victim will refuse to appear or testify, the interest of the defendant in being able to
  prepare a defense outweighs the government’s interest in keeping the name of [the alleged
  victim] undisclosed.”).

          The government’s assertion that there is no legal precedent for Ms. Maxwell’s request is
  incorrect. (Gov’t Resp. at 4). The case law in this Circuit is unambiguous that the Court has the
  power to grant the requested relief. As we stated in our initial letter, the Second Circuit formally
  recognized that district courts have the authority to order the disclosure of the identities of
  government witnesses in United States v. Cannone, 598 F.2d 296, 301 (2d Cir. 1975). Although
  Cannone, itself, found that the district court abused its discretion in ordering the disclosure of
  witness identities under the facts of that case, the government acknowledges that this Court has
  the authority under Cannone to issue such an order in this case. (Gov’t Resp. at 2).

          The defense also cited in its initial letter United States v. Warme, a directly analogous
  precedent in which a district court in this Circuit relied on Cannone and its progeny to order the
  government to disclose the identity of a rape victim to the defendant roughly one month after
  indictment—the exact same relief that Ms. Maxwell requests here. (Dkt. 38 at 3-4). In Warme,
  the defendant asked the district court to order the government to disclose the identity of a victim
  who was allegedly raped by the defendant a little over two years before the indictment was filed,

  someone if you already know who that person is. Moreover, it raises the question of why the government is
  unwilling to go the extra step and simply provide the defense with the actual birthdays of the alleged victims.
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  in stark contrast to the 25-year-old conduct alleged in this case. Warme, 2009 WL 427111, at
  *1-2. The district court recognized “the sensitive nature of the charges and the difficulties facing
  rape victims,” but found that “the defendant’s ability to adequately prepare a defense against this
  charge [would be] significantly compromised without being advised of the identity of the alleged
  victim.” Id. at *2. The district court found that disclosure was appropriate because, as in this
  case (i) the defendant was seeking disclosure of the identity of an alleged victim who was the
  basis for a specific crime charged in the indictment, and not just a government witness; (ii) the
  indictment did not state “the exact dates” of the alleged abuse or the prior encounters between
  the defendant and the alleged victim; and (iii) the government did not articulate any basis to
  conclude that the alleged victim would be subject to intimidation or would refuse to appear at
  trial as a result of the disclosure. Id. For the same reasons articulated in Warme, this Court
  should order the government to disclose immediately the identities of three alleged victims
  referenced in the indictment, subject to the terms of the protective order. 2

      2. Ms. Maxwell’s Conditions of Confinement and Access to Discovery

          The government asserts that Ms. Maxwell’s conditions of confinement should be left to
  the discretion of the BOP. (Gov’t Resp. at 4). But the BOP cannot be the sole arbiter on these
  issues if the conditions of Ms. Maxwell’s confinement impact her right to a fair trial and to
  meaningfully prepare her defense. Indeed, under the BOP’s original plan, Ms. Maxwell would
  have been forced to choose between taking a shower and reviewing the voluminous discovery in
  this case. It is only because the defense filed its motion that the BOP modified its original plan
  and gave Ms. Maxwell increased access to the discovery two days later. We now understand,
  and the government has confirmed, that Ms. Maxwell can review discovery from 7:00 a.m. to
  8:00 p.m. every day of the week. (Id. at 5). We respectfully ask the Court to confirm these
  changes in an order to the BOP.

         However, the defense continues to believe that Ms. Maxwell is being subjected to
  uniquely onerous conditions of confinement because of the death of Mr. Epstein in BOP custody.
  For example, Ms. Maxwell continues to be surveilled 24 hours a day by security cameras and is


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    The government attempts to distinguish Warme by asserting that, unlike Warme, the indictment in this case
  “describes relevant time periods and events, including referring to the defendant’s conversations with victims,
  interactions with victims, and specific relevant locations.” (Gov’t Resp. at 3). That is incorrect. In fact, the
  indictment in Warme was far more specific as to the dates of the relevant events, alleging that the rape took place
  “sometime in and around October of 2006.” Warme, 2009 WL 427111, at *2. By contrast, the indictment in this
  case alleges vague instances of “grooming” that supposedly took place over the course of a year (in the case of
  Victim 2), two years (in the case of Victim 3), or even four years (in the case of Victim 1). Those are hardly “exact
  dates.” The criminal complaint in Warme also alleged specific interactions between the defendant and the alleged
  victim; namely, that they “had met and exchanged phone numbers perhaps as long as 10 months prior to the alleged
  rape.” Id. Nevertheless, the district court held that the defendant’s right to prepare his defense required disclosure
  of the identity of the alleged victim and outweighed any privacy interest that the victim might have. Id.
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  under constant observation by multiple prison guards. 3 She is also still being awakened several
  times in the middle of the night. Even on more routine matters, Ms. Maxwell’s treatment has
  been worse than other pretrial detainees. For example, Ms. Maxwell has no access to email and
  has been given 30 minutes per month for personal phone calls, far fewer than the 500 minutes
  granted to other pretrial detainees since the COVID-19 crisis. Unlike defendants in the general
  population, she does not have a desk or a writing surface where she can take notes when
  reviewing the discovery. And until recently, Ms. Maxwell was denied access to the prison
  commissary for no apparent reason.

         We respect that the BOP needs to ensure the orderly operation of the MDC. But Ms.
  Maxwell’s conditions of confinement are unique to her and seem punitive rather than anything
  necessary to ensure that the MDC as a whole is running smoothly. Accordingly, we respectfully
  request that, going forward, Ms. Maxwell be monitored in the same manner as other pretrial
  detainees and that the Court order the BOP to grant Ms. Maxwell the same privileges given to
  other detainees. 4

                                                   *        *        *

       For the reasons set forth above, we respectfully submit that the Court should grant Ms.
  Maxwell’s motion.

                                                                  Respectfully submitted,


                                                                    /s/ Christian R. Everdell             .
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  cc:   All counsel of record (via ECF)

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   The defense recently learned that some of these prison guards were, in fact, BOP psychologists who were
  observing Ms. Maxwell and evaluating her for hours each day without her knowledge. We are aware of no other
  pretrial detainee receiving such treatment.
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   In our original letter, the defense asked the Court to order the BOP to release Ms. Maxwell into the general
  population because we had been informed that Ms. Maxwell would not receive certain privileges, like access to a
  desk and the prison commissary, unless she were housed there. As long as Ms. Maxwell is monitored in the same
  manner, and receives the same privileges as other pretrial detainees, it is not necessary to move her to the general
  population.
